JAIL INCIDENT/                                                           MCMINN CO SHERIFF'S OFFICE
                                                                                                                    TN0540000
DISCIPLINARY REPORT
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 INCIDENT DESCRIPTION
tffisrINMATE(s)                                              CONTROL NUMBER:                 GASE NUMBER: 2127
LOCATION: BX                                                    tNctDENT OATE, 0510412017    INCIDENT TIME; O :51
REPORTING OFFICER:8819 - SCRUGGS, AISHA                        DELIVERY DATE: 05/04/2017    DELIVERY TIME: 02:54
REPORT DATEI 05/04/2017 REPORT TIME: 0 :51                    APPROVAL DATE:                APPROVAL TIME:
SHIFT SUPERVISER:8819 - SCRUGGS, AISHA
APPROVING OFFICER:
OFFENDER(S)




vrcnM(s)



wTTNESS(ESl




  NARRATIVE
 AT APPROXIMATELY 0051, I DEPUTY A. SCRUGGS, WAS IN THE PROCESS OF MOVING SEVERAL INMATES FROM BX TO OX PER 447, AS
 THE INMATES WERE GATHERING THEIR BELONGINGS, INMATE BRANDON TINDELL WHO WAS SLEEPING ON THE FLOOR, PICKED UP HIS
 MAT, TOTE, ETC AND PROCEEDED TO MOVE TO THE BUNK WERE FLOYD DUNGAN WAS LAYING. INMATE JERROD JONES WALKED FROM
 THE OTHER SIDE OF THE POD, AND EXCHANGED WORDS WITH MR, TINDELL ABOUT THE BUNK. MR. DUNCAN EXPLAINED TO MR, JONES
 THAT MR. TINDELL HAD BEEN IN THE POD LONGER, SO HE WAS ENTITLED TO THE BUNK. MR. JONES WALKED OFF, BUT IMMEDIATELY
 CAME BACK TO THE BUNK. MR. JONES PUNCHED MR. TINDETL IN THE FACE, THEN PUSHED HIM DOWN, MR, TINDELL THEN FELL INTO
 INMATE MAURICE ROBERTS TOTE AT WHICH TIME IT BROKE. DEPUTIES TROUTMAN AND WILLIAMS THEN MOVED MR, JONES TO OX. END
  OF REPORT
                      Hearlng Offìcer   Slgnature:                                          Badge Number:



                    Approvlng Officer Slgnature:                                            Badge Number:



                                                                                            Badge Number:


SupeN¡sing Offlcer Signature                         Datel              Tlme:




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                                                                                                    EXHIBIT B
                Case 3:25-cv-00074-KAC-DCP              Document 1-2            Filed 02/21/25       Page 1 of 28
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JAIL INCIDENT/                                                                              MCMINN CO SHERIFF'S OFFICE
                                                                                                                                            TN0540000
DISCIPLINARY REPORT
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INCIDENT DESCRIPTION
ffisrrNMArE(s)                                                              CONTROL NUMBER:                         CASENUMBER:2159
LOCATIONI GYM                                                                    INCIDENT DATET 0512512017          INCIDENT TIME:
REPORTING OFFICER¡ 4929 - RUEBUSH, LYNNETTE                                     DELIVERY DATEI                      DELIVERY TIMEr
REPORTDNIE: 0512512017 REPORTTIME: 14:'17                                      APPROVAL DATE:                      APPROVAL TIME:
SHIFT SUPERVISER: -
APPROVING OFFICER:
OFFENDER(S)
  INMATE NO.   3775                  NAME: JONES, JERROD IVAN
 oURRENT cELL ASSIGNMENTT MX/MX
 CURRENT CHARGE(S):
 VANDALISM UP TO lOOO
 VANDALISM UP TO lOOO
 VIOLATION OF PROBATION MISDEMEANOR
 CRIMINAL TRESPASS
 THEFT OF PROPERTY UNDER lOOO
 SHOPLIFTING-THEFT       OF PROPERTY
! cRrrr¡rrunl rnËsPAss
i ¡¡unoCR -- SECOND DEGREE
i AGGRAVATED ASSAULT CLASS C FELONY

vrcTrM(s)



wrrNEss(Es)




  NARRAïvq

  NARRAÏVq
  On May 25, 2017 traffic called to the gym to find Jerrod Jon€s and Doug Clowers in a altercatlon. When arrived ln gym had all males move to the wall
  to find ihat Jerrod Jones hlt Doug Clowbrs and the wall wlth his fist. Boih partles soperated and taken to the nurse to have bo examined. Jones will be
  move lo a dltferent localion, Jones advlsed that he was lired of Clowers runnlng hls moulh at him,
                                      Slgnature:
                         Hear¡ng Offlcer                                                                              Badge Number:



                    Approving Officer Signaturei                                                                   Badge Number:



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Supervlslng Ofücer Slgnalure                                        Dâte:                   Tlme:




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JAIL INCIDENT/                                                                     MCMINN CO SHERIFF'S OFFICE
                                                                                                                           TN0540000
DISCIPL¡NARY REPORT
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INCIDENT DESCRIPTION
INCIDENT CODE .                                                        CONTROL NUMBER:                 CASE NUMBER: 2481
LOCATIONT BX POD                                                          INCIDENT DATE: 01/03/2018    INCIDENT TIMEI 22:25
REPORTING OFFICER: 3673 - BURNHAM. MATTHEW                               DELIVERY DATE:               DELIVERY TIMEr
REPORT DATE: 01/04/2018 REPORT TIME: 03:57                              APPROVAL DATE:                APPROVAL TIME:
SHIFT SUPERVISER: .
APPROVING OFFICER:
OFFENDER(S)
 INMATE NO,    3775                     NAME: JONES, JERROD IVAN
 CURRENT CELL ASSIGNMENT: MX/MX
 CURRENT CHARGE(S):
 VANDALISM UP TO lOOO
 VANDALISM UP TO lOOO
 VIOLATION OF PROBATION MISDEMEANOR
 CRIMINAL TRESPASS
 THEFT OF PROPERTY UNDER lOOO
 SHOPLIFTING.THEFT OF PROPERTY
I cRrrvrt,¡¡u rREsPAss
r MURDER -- SECOND DEGREE
.
 AGGRAVATED ASSAULT CLASS C FELONY

vrcTrM(s)
i INMATE NO.2865                        NAME: MCCREARY, DEREKALLEN
 CURRENTCELLASSIGNMENT:             /
wTTNESS(ES)




  NARRATIVE
 ON THIS DATE 01/03/2018 AND TIME 2225 IDÉP, BURNHAM RESPONDEO TO ATRAFFIC CALL IN BX. WHEN IENTERED THE POD IASKED
 WHAT WAS GOING ON. INMATE DEREK MCCREARY APPROACHED ME AND TOLD ME WHAT HAPPENED, HE SAID THAT INMATE JARROD
 JONES OWED HIM FROM A YEAR AGO WHEN THEY WERE BOTH IN HERE LAST. AT THIS TIME DEP, HAMPTON ARRIVED TO BX AND I
 EXPLAINED WHAT WAS GOING ON. DEP. HAMPTON AND MYSELF PULLED INMATE DEREK MCCREARY OUT OF THE POD AND CLOSED
 THE POD DOOR. DEP. HAMPTON THEN PROCEEDED TO GO INTO CENTRAL AND PLAY BACK THE CAMERA FOOTAGE TO SEE WHAT
 HAPPENED. AT THIS TIME CPL. BYRUM ARRIVED AND ASKED WHAT HAPPENED AND INMATE DEREK MCCREARY THEN PROCEEDED TO
 EXPLAIN THAT HAPPENED, CPL BYRUM THEN WENT INTO CENTRAL TO RÉVIEW THE CAMERA FOOTAGE. AFTER WATCHING THE VIDEO
 CPL. BYRUM PROCEEDED TO GO BACK INTO BX AND TOLD INMATE JARROD JONES TO PACK HIS STUFF AND THEN MOVED HIM TO THE
 BACK TO OX POD AFTER REVIEWING THE CAMERA FOOTAGE. END REPORT
                      Hearing Offìcer    Slgnature:                                                   Badge Number:



                    Approv¡ng Offìcer Signature:                                                      Badge Number:



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Supervising Offìcer Signature                                  Date:               Tlme:




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JAIL INCIDENT/                                                                             MCMINN CO SHERIFF'S OFFICE
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DISCIPLINARY REPORT
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INCIDENT DESCRIPTION
ffiSTINMATE(S)                                                             CONTROL NUMBER:                         CASE NUMBER: 2526
LOCATION: U(                                                                    INCIDENT DATE     : OI |ZSIZOIA    INCIDENTTIMEi 20i17
REPORING OFFICER¡ 6355 - SAXE, DERRICK                                         DELIVERY DATE: 01/30i2018          DELIVERY llME: 02:06
REPORT DATE: 01/30/2018 REPORT TIME: 02:06                                    APPROVAL DATE¡                      APPROVAL TIME:
sHIFT SUPERVISER:5355 - SAXE, DERRICK
APPROVING OFFICER:
OFFENDER(S)




vrcrM(s)
I |NMATE NO. 3775                    Nnn¡er ¡ONES, JËRROD IVAN
i cunnrnrceLLAssrGNMENT¡ M<IMX
WITNESS(ES)




 NARRATIVE
 On the above dato and approxlmate tlmo, trafflc was called ln pod l-X from the Maln Male One boolh, After I anived, I had askod all of the lnmates the
 pod wtral had happened when all of the lnmate stated that lnmate Jones had to go. I then moved lnmate Jon€o to pod PX for his own safety wlth no
 further lncldents, End of reporl.
                       Hearlng OfficerSignature:                                                                  Badge Number:



                    Approvlng Officer Slgnaturo                                                                   Badg€ Number:



                                                                                                                  Badge Number


Supervlsing Offlcer Signature                                     Date:                   Tlmê:




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JAIL INCIDENT/                                                                  MCMINN CO SHERIFF'S OFFICE
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INCIDENT DESCRIPTION
INCIDENT CODE .                                                     CONTROL NUMBER:                    CASE NUMBER: 2527

LOCATION: BOOKING CELL 1                                               INCIDENT DATE: 01/291201   I    INCIDENT TIME: 14:30
REPORTING OFFICERT 1117 - WILLIAMS, MATTHEW                           DELIVERY DATE:                  DELIVERY TIÙIE:
REPORT DATE: 01/30/2018 REPORT TIME 09:52                            APPROVAL DATE:                   APPROVAL ÏME:
SHIFT SUPERVISER: -
APPROVING OFFIcERI
oFFENDER(S)
 INMATE NO.    3779                  NAME: JONES, JERROD IVAN
 cURRENT CELL ASSIGNMENT: M)UMX
 CURRÉNT CHARGE(S)I
 VANDALISM UP TO lOOO
 VANDALISM UP TO IOOO
 VIOLATION OF PROBATION MISDEMEANOR
 CRIMINAL TRESPASS
 THEFT OF PROPERTY UNDER lOOO
 SHOPLIFTING-THEFT OF PROPERTY
 CRIMINAL TRESPASS
 MURDER -- SECOND DEGRÉE
 AGGRAVATED ASSAULT CI-ASS C FELONY
vrcTlM(S)



wTTNESS(ES)




  NARRATIVE
  ON 1/29/2018 I DEPUTY WILLIAMS WAS WORKING BOOKING WHEN OFFICER CARDIN FROM APD WITNESSED A FIGHT BETWEEN INMATE
  JERROD JONES AND INMATE DAVIO RODRIGUEZ IN CELL 1. CPL CHURCH AND MYSELF IMMIEDAITLY WALKED TO CELL 1 AND REMOVED
  INMATE JONES FROM CELL 1 CALLED THE NURSE, NURSE BENNY, FOR MEDICALATTENTION FOR DAVID RODRIQUEZ.
  END OF REPORT
                      Hearlng Officer   Signature:                                                    Badge Number:



                    Approving Oflicer Signature:                                                      Badgo Number:



                                                                                                      Badge Number:


Supervislng Officor Signature                               Date:               Time:




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JAIL INCIDENT/                                                                    MCMINN CO SHERIFF'S OFFICE
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 INCIDENT DESCRIPTION
tffisrINMATE(s)                                                       CONTROL NUMBER:                 GASE NUMBER: 2528
LooATION: BOOKING CELL 1                                                 INCIDENT DATE: 01/29/2018    INCIDENT TIME: 14:30
REPORTING oFFIGER:443 - T. CHURCH                                       DELIVERY DATE: 01/30/2018    DELIVERY TIME: 09:53
REPORT DATE: 01/30/2018 REPORTTIME; 09:53                              APPROVAL ÐATE:                APPROVAL TIME:
sHIFT SUPERVISER:441 - CLAYTON, RICK
APPROVING OFFICER:
OFFENDER(S)
 INMATE NO,     3775                   NAME: JONES, JERROD IVAN
  CURRENT CELL ASSIGNMENT: MX/MX
  CURRENT CHARGE(S):
  VANDALISM UP TO IOOO
  VANDALISM UP ÏO IOOO
  VIOLATION OF PROBATION MISDEMEANOR
  CRIMINAL TRESPASS
  THEFT OF PROPERTY UNDER lOOO
  SHOPLIFTING.THEFT OF PROPERTY
  CRIMINAL TRESPASS
  MURDER -. SECOND DEGREE
  AGGRAVATED ASSAULT CLASS C FELONY
vrcTrM(s)
i |ÑMATE NO. 5190                      NAME: RODRIGUEZ, DAVID cRÙZ
; CURRENT.CELLASSIGNMENT: /
wTTNESS(ES)




  NARRATIVE
  ON 1/29/2018 AT APPROXIMATELY 1430, I, CORPORAL CHURCH WAS IN BOOKING DOING RELEASES. DEPUTY WILLIAMS WAS DOING AN
  INTAKE. WHILE DEP. WILLIAMS WAS DOING THE INTAKE, THÊ APD OFFICER AT THE COUNTER WITH THE INTAKE PRISONER STATED
  "THEY ARE FIGHTING OVER THERE IN 1." AT THIS TIME I LOOKED UP FROM THE PRISONER REGISTER AND SAW INMATE RODRIGUEZ ON
  THE GROUND AND INMATE JONES PUNCHING HIM IN THE FACE, I THEN GRABBED A CAN OF SPRAY AND WILLIAMS GRABBED THE CEIL
  KEY, WHEN WE GOT TO THE CELL, THE INMATES STOPPED AND INMATE JONES WAS REMOVED FROM THE CELL, THE NURSE WAS
  CALLED TO LOOK AT INMATE RODRIGUEZ. NO FURTHER INCIDENT OCCURRED.
                        Hearing Offìcer   Slgnature:                                                 Badge Numberl



                     Approving Officer Signature:                                                    Badge Number:



                                                                                                     Badge Number:


Supervising Officer Sl gnature                                Date:               T¡me:




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JAIL INGIDENT/                                                                   MCMINN CO SHERIFF'S OFFICE
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DISCIPLINARY REPORT
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 INCIDENT DESCRIPTION
INCIDENT CODE .                                                      CONTROL NUMBER:                 CASE NUMBER: 2548
LoCATION: PXDAYROOM                                                     INCIDENT DATE: 02106/2018    INCIDENT TIME: 15:55
REPORTING OFFICERI 3673 - BURNHAM, MATTHEW                             DELIVERY DATE:               DELIVERY TIMET
REPORT DATE: 02/06/20'18 REPORT TIME: 16:16                           APPROVAL DATE:                APPROVAL TIME:
SHIFT SUPERVISER: .
APPROVING OFFICER¡
OFFENDER(S)
 INMATE NO. 3775                       NAME: JONES, JERROD IVAN
  CURRENT CELL ASSIGNMENT: MíMX
 cURRENT CHARGE(S):
 VANDALISM UP TO lOOO
 VANDALISM UP TO lOOO
 VIOLATION OF PROBATION MISDEMEANOR
 CRIMINAL TRESPASS
 THEFT OF PROPERTY UNDER lOOO
  SHOPLIFTING-THEFT OF PROPERTY
I CRIMINAL TRESPASS
, MURDER
             -
            SECOND DEGREE
  AGGRAVATED ASSAULT CLASS C FELONY
vrcïM(s)


wrrNEss(Es)



  NARRATIVE
  ON THIS DATE 02106/2018 AT APPROX .I555 TIME. I DEP. BURNHAM AND OEP, GOENNER WERE SITTING IN MM2 CONTROL BOOTH AND
  HEARD SHOUTING COMING FROM PX. WHEN WE LOOKED WE SAW A GROUP OF INMATES TOWARDS THE BACK LEFT CORNÊR ARGUING.
  I DEP, BURNHAM WENT INTO PX TO SEE WHAT WAS GOING ON. WHEN I GOT IN THERE I PROCEEDED TO GO TOWARDS THE CORNER
  WHERE THË WERE STANDING AT ARGUING. THATS WHEN I GOT CONTROL OF THE SITUATION AND THE WHOLE POD SAID ÏHAÏ HE IS
  STEALING FROM EVERYONE IN THERE AND THAT HE HAS TO GO, I TOID THEM GIVE ME A CHANCE TO FIND OUT WHAT WE NEED TO DO.
  I CAMÉ BACK INTO THE CONTROL BOOTH AND CALLED CPL, RUEBUSH AND SHE INSIRUCTED TO ME TO LOCK INMATE JERROD JONES
  DOWN IN HIS CELL PX2 FOR THE NIGHT DUE TO THE SITUATION AND FOR HIS SAFETY, END REPORT
                        Hearing Offlcer   Slgnaturer                                                Badge Number:



                     Approvlng Officer Signature                                                    Badge Number:



                                                                                                    Badge Number:


Supervising Offlcer Signature                                Date:               Tlme:




Eagle Advanlage Solutions, lnc.




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JAIL INCIDENT/                                                                               MCMINN CO SHERIFF'S OFFICE
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DISCIPLINARY REPORT
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 INCIDENT DESCRIPTION
IffiSTINMATE(S)                                                              CONTROL NUMBER:                         CASE NUMBER: 2566
LOCATION: BOOKING CELL 1                                                         INCIOENT D ATÉl 021 17 t2018        fNCIDENT llME: 18:22
REPORTING OFFICER: 5355 - SAXE, DERRICK                                          DELIVERY DATEz 021 17 1201   I     DELIVERY TIME: 20:08
REPORTDATE¡ 0211712018 REPORTTIME:20108                                         APPROVAL DATE:                     APPROVAL TIME:
SHIFT SUPERVISER:5355 - SAXE, DERRICK
APPROVING OFFICER:
oFFENDER(S)
, INMATE NO.    3775                 NAME: JONES, JERROD IVAN
 , CURRENT CELL ASSIGNMENT: MX/MX
 I cuRReHr cHARGE(s):
  VANDALISM UP TO IOOO
 , VANDALISM UP TO lOOO

  VIOLATION OF PROBATION MISDEMEANOR
  CRIMINAL TRESPASS
  THEFT OF PROPERTY UNDER fOOO
  SHOPLIFTI NG.THEFT OF PROPERTY
  CRIMINAL TRESPASS
  MURDER -. SECOND DEGREE
  AGGRAVATED ASSAULT CLASS C FELONY

ucnM(s)
' INMATE NO, 10610                   NAME: COOK, TIMOTHY BRIAN
  CURRENT CELL ASSIGNMENT: /

 wTTNESS(ES)




  NARRATIVE
  o
  NARRATIVE
  On the above date and approximate t¡me, I CPL. Saxe was sltting behlnd the booking counter when Palrol Deputy Murray stated "HEYI You.have a fight
  going on over in cell Onei'. As I looked up I wllnessed lnmate Jones str¡king lnmat€ Cook. Oeputy Murray and myself then went over to cell One to break
  the fight up, As we approached lhe door, lnmate Jones was backing up as Deputy Murray and myself were giving him the roasonable command to gel
  on tné wait (Chapter 3 Section 3.07 Procedure 3 Levels 1 and 2). As we were cuff¡ng lnmate Jones, he began pulllng away and was Tased for One (1)
  full cycle by Deputy Munay (Chapter 3 Sectlon 3.07 Procedures 3 Levels 1, 2, and 3, Chapter 4 Sectldn 4.03 Proceduree 3 Letler B). lnmate Jones was
  then'placed ¡nto the restraint chair until we could assess lnmate Cook. After Deputy Munay got back to cell 1 where lnmate Cook was laying, he
  shouted that lnmate Cook wasn't breathing and was unresponsive. Deputy Murray immediately got on his hand set and started radloing dispalch for an
  ambulance at tho jail as I was also calling dispatch from a jail line for an ambulance. By thls tlme, Deputy Green was over in cell 1 when I told her to
  start CPR on lnmate Cook, CPL. Church and myself then went to get lhe A.E.D and the ambu bag to assist with the CPR process, When \rc got back
  wlth the A.E.D and the ambu bag, Patrol Auxillary Mlke Stewart had taken over CPR I then unpacked the A.E.D and placed lhe pads on lnmale Cook's
  chest ss directed by the instruction on the A.E.D as Deputy Mike Stewart contlnued C.P.A. The A.E.D never advlsed to shock and CPR was contìnued
  with Deputy Mike Stewart and myself switchlng ln and out performing CPR on Inmate Cook. EMS had arrived on the scene at approximately 1834 and
  look ovèr. i then went to call and notifo my chain of command of the situation as EMS loaded lnmate Cook into the ambulance, Ems staff lhen began
  transporting lnmate Cook the UT hospital of Knoxville at approxlmately 1853 with Deputy Michelle Wllllams going to sit with lnmate Cook. End of reporl.
                        Hearing OffìcerSignaturel                                                                   Badge Number:



                    Approving Officer Signature:                                                                    Badge Number:



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Supervising Officer Signalure                                       Dater                   Time:




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JAIL INCIDENT/                                                                  MCMINN CO SHERIFF'S OFFICE
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 INCIDENT DESCRIPTION
tffisrINMATE(s)                                                     CONTROL NUMBER:                  CASE NUMBER: 2567

LOCATION: BOOKINGCELL1                                                 INCIDENT DAIÉ: 02117 12018    INCIDENT TIME: 18:22
REPORTING OFFICER:443 - CHURCH, T,                                    DELIVERY DATE: 02/1712018     DELIVERY TIME: 20:15
REPORTDN|E: 0211712018 REPORTTIME:20:15                              APPROVAL DATE:                 APPROVAL TIMEI
SHIFT SUPERVISER:440 - PARSONS, TOBY
APPROVING OFFICER:
OFFENDER(S)
f rñNi¡\TE No,   3775                NAME: JoNES, JERRoD lvAN
J   CUNRTNTCELL ASSIGNMENT: MX/MX
, CURR¡nr CHARGE(S)r
    VANDALISM UP TO l OOO
    VANDALISM UP TO lOOO
    VIOLATION OF PROBATION MISDEMEANOR
    CRIMINAL TRESPASS
    THEFT OF PROPERTY UNDER lOOO
    SHOPLIFTING-THËFT OF PROPERTY
    CRIMINAL TRESPASS
    MURDER -- SECOND DEGREE
    AGGRAVATED ASSAULT CLASS C FELONY
vrcïM(s)
    INMATE NO.   10610               NAME¡ COOK, TIMOTHY BRIAN
    CURRENT CELL ASSIGNMENT: /

wrTNESs(ES)




    NARRATIVE
    ON 211712018 AT APPROXIMATELY 1822 I, CORPORAL CHURCH WAS IN THE CORPORAL OFFICE GETTING MY BELONGINGS TO GO HOME.
    WHEN I WALKED OUT OF THE CORPORAL OFFICE, THE LAUNDRY TRUSTEE ASKED ME WHAT WAS GOING ON. HE STATED'ONE OF
    YOUR OFFICERS JUST RAN UP TO BOOKINGI" I THEN WENT TO BOOKING AND FOUND OFFICERS AT HOLDING CELL 1. I COULD NOT TELL
    WHAT WAS GOING ON. THE PHONE WAS RINGING ANP I ANSWERED IT. CPL. RUEBUSH WAS ON THE OTHER END. SHE ASKED ME WHAT
    WAS GOING ON. AT THIS POINT I WAS STILL UNSURE OF WHAT WAS GOING ON. I GOT OFF THE PHONE WITH CPL. RUEBUSH AND
    FOUND OUT THERE WAS AN INMATE IN HOLDING CELL I WHO WAS NOT BREATHING, I THE WENT TO THE CLINIC TO RETRIEVE THE AED
    AND BAc VALVE MASK (BVM). I ARRTVED BACK TO HOLDTNG CEL 1 AND GAVE THE AED TO ANOTHER OFFICER. I GRABBED THE BVM AND
    STARTED RESPIRATIONS WHEN COMPRESSIONS WERE PAUSED. I TOLD DEPUTY HANEY TO GET THE FRONT HALF KEYS, GO TO THE
    CLINIC AND GET THE OXYGËN TANK LABELED "NON REBREATHER'" WHEN DEP, HANEY RETURNED WITH THE OXYGEN TANK DEP.
    MURRAY CONNECTED THE OXYGEN LINE TO THE TANK, SHORTLY THERE AFTER, EMS ARRIVED, TOOK OVER CPR, REMOVED THE AED
    AND ATTACHED THEIR LIFEPAK MONITOR. I CONTINUED TO GIVE BREATHS AS INSTRUCTED,BY EMS, THE INMATE WAS MOVED ON TO A
    BACK BOARD AND THEN TRANSFORD ON TO THE STRETCHER. EMS THEN TOOK HIM TO THE AMBULANCE. I THEN WENT TO THE
    BOOKING COUNTER TO MAKE SURE THE BOOKING KEY WAS THERE AND THEN I SECURED THE HOLDING CELL DOOR. I THEN ADVISED
    CPL. SAXE NOTTO LETANYBODY GO INTO HOLDING 1.

                       Hearlng Offlcer Signåture:                                                   Badge Number:



                    Approvlng Offlcer Slgnature:                                                    Badgo Number:



                                                                                                    Badge Number:


supervlsing Offlcer Signature                               Date:               Time




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JAIL INCIDENT/                                                                                 MCMINN CO SHERIFF'S OFFICE
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    INCIDENT DESCRIPTION
lffisrINMATE(s)                                                                CONTROL NUMBER:                         CASE NUMBER: 2568

LOCATION: BOOKING CELL 1                                                            INCIDENT DATE: O211712018          INCIDENT TIMEi 18i22
REPORTING OFFICERI 6686 - GREEN, LANA                                              DELIVERY DATET 021 17 12018         0ELIVERY TME: 21:46
REPORT DATE: 02t1712018 REPORTTIME: 21:46                                         APPROVAL DATE:                      APPROVAL TIME:
SHIFT SUPERVISER:5355 - SAXE, DERRICK
APPROVING OFFICER:
oFFENDER(S)
     INMATE NO,       3775              NAME: JONES, JERROD IVAN
     CURRENT CELL ASSIGNMENT: MX/MX
    : CURRENT CHARGE(S):
                UP TO 1000
    . VRtlORt-tStr¡
    ]VANDALISM UP TO lOOO
     VIOLATION OF PROBATION MISDEMEANOR
     CRIMINAL TRESPASS
     THEFT OF PROPERTY UNDER lOOO
     SHOPLIFTING-THEFT OF PROPERTY
    I cRrMrNAt TRESPASS
     MURDER. SECOND DEGREE
    , AGGRAVATED       ASSAULT CLASS C FELONY

vrcTrM(s)
I INMATE NO. 10610                       NAME: COOK. TIMOTHY BRIAN
I

I CURRENT GELL ASSIGNMENT: /
I


wTTNESS(ES)




     NARRATIVE
     On lhe above date and approximate time, I officer Lana Green was in booklng. Deputy MurÍay and Cpl Saxe was ln booklng 48. well. Deputy Murray
                                              .                                                                   .
     seen fightlng going on in'booking cell 1 Deputy Murray and Cpl Saxe lmmedlately went to booklng cell 1 Thôy separated th€ lnmates and place
                                                        s.
     inmateionei into ihe restralnt chãlr ln boorini cótl     t bfiìcer Lâna Green went lo help Deputy Murray and Cpl Saxe, they were checkìng for breathing
     and a pulse on tnmâle Cook, They advised-me to start CPR, Deputy Munay radloed for an ambulance and Cpl Saxe called dlspatch. I Offìcer Lana
     Green slarted CPR until furlher helped ârrlved. End of report.
                          Hearing Officer Signature:                                                                   Badge Numbet:



                        Approving Officer Signature                                                                   Badge Number:



                                                                                                                       Badge Number:


    Supervlslng Officer Signature                                      Date:                   Time




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JAIL INCIDENT/                                                                 MCMINN CO SHERIFF'S OFFICE
                                                                                                                        TN0540000
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INCIDENT DESCRIPTION
ffisrtNMArE(s)                                                    CONTROL NUMBER:                   CASE NUMBER: 2569
LoCATION: BOOKING                                                    tNoIDENT DNrEj. Q2117 12018    INCIDENT TIME: 18:22
REPORTING OFFICER:3732 - MICHELLE, WILLIAMS                         DELIVERY DATEI                 DELIVERY TIME:
REPORT DATE: 0211812018 REPORT TIME: 07:59                         APPROVAL DATE:                  APPROVAL TIME:
SHIFT SUPERVISER: -
APPROVING OFFICER:
OFFENDER(S)
i lNmare No, 3775                  NAME¡ JoNES, JERROD lvAN

I cunneNr
            cELL AssTcNMENT: MX/MX
 CURRENT CHARGE(S)I
 VANDALISM UP TO lOOO
 VANDALISM UP TO lOOO
 VIOLATION OF PROBATION MISDEMEANOR
 CRIMINAL TRESPASS
 THEFT OF PROPERTY UNDER lOOO
 SHOPLIFTING.THEFT OF PROPËRTY
 CRIMINAL TRESPASS
 MURDER -- SECOND DEGREE
 AGGRAVATED ASSAULT CLASS C FELONY
vrcïM(s)
  INMATE NO.   10610               NAME: COOK, TIMOTHY BRIAN
' CURRENT CELL ASSIGNMENT: /
wrrNEss(Es)




  NARRATIVE
  ON 02/17l18 AT APPROX '18:22 I DEPUTY WILLIAMS WAS lN CENTRAL CONTROL WITH OFFICER ROBERT MOSES WHEN THE PHONE RANG
  ANÞ CPL SAXE SPOKE TO DEPUTY MOSES TELLING HIM TO CALL THE NURSE AND AN AMBULENCE AND LET THEM KNOW THERES CPR
  IN PROGRESS, DEPUTY MOSES DIDNT UNDERSTAND HIM CLEARLY SO HE THREW THE PHONE TO ME ANO THATS WHEN CPL SAXE TOLD
  ME CPR IN PROGRESS AND I DEPUTY WILLIAMS RAN OUT OF CENTRAL TO GO ASSIST IN BOOKING. I WITNESSED INMATE JONES IN THE
  RESTRAINT CHAIR AT APPROX 1B:24 AND INMATE COOK ON THE FLOOR lN BOOKING CELL1 WITH BLOOD ALL OVER HIM AND THE FLOOR
  AND HIS FACE WAS BLUE. DEPUTIES MURRAY, GREEN, SAXE AND HANEY AND MYSELF ALL WERE IN BOOKING CELL 1 AND ASSISTING
  EACH OTHER ACCORDINGLY. APPROXIMETLY 18:25 DEPUTY GREEN WAS PERFORMING CPR AS I WAS THERE AND CPL CHURCH
  ARRIVED AND HAD MYSELF AND HANEY TO GO GET THE 02 TANKS FROM THE NURSE'S OFFICE AND WE WENT AND GRABBED THE 02
  TANK AND TOOK IT INTO BOOKING TO WERE THE INMATE WAS, I THEN WENT TO THE PHONE IN BOOKING AND CONTACTED NURSE
  BENNIE AND LET HER KNOW WHAT WAS GOING ON AND THAT EMS WAS ALREADY ENROUTE AND THE DEFIBULATOR WAS IN USE AND
  HAD SEVERAL ASSIST. I WENT BACK TO CELL 1 AT THAT TIME WHICH WAS APPROX 18:29 CPL CHURCH HAD THE BVM AND AED APPLIED
  TO THE INMATES CHEST AND SEVERAL OTHER ROAD OFFICERS WERE COMING INSIDE TO ASSIST ALSO, AT THIS TIME AT 18i34                      I


  DEPUTY WILLIAMS THEN RAN OUTSIDE TO ASSIST EMS INSIDE WITH THE STRETCHER. BOTH MEDICS WENT INTO CELL 1 AND TOOK
  OVER CPR AND COMMANDS. I DEPUTY WILLIAMS ASSISTED MEDICS WITH THE BACKBORED AND PLACED IT UNDER THE INMATE WITH
  DEPUTY MURRAY AND THEN ASSISTED GETTING INMATE ONTO THE STRETCHER. AT I8:39 SEVERAL ROAD OFFICERS ASSISTED WITH
  GETTING THE STRETCHER TO THE TRUCK AND HELPING OUT THE MEDICS WITH WHAT THEY NEEDED. THE MEDICS PLACED THE LUCAS
  MACHINE ON THE INMATE AND ATTEMPTED TO DO CPR. IT WASNT WORKING PROPERLY SO THE MEDICS ASKED ME TO PERFORM CPR.
  I DEPUTY WILLIAMS DID CPR ON INMATE COOK FOR ABOUT 3 MINS UNTIL THE SECOND TRUCK ARRIVED AND BROUGHT OVER THEIR
  LUCAS MACHINE FOR THE INMATE. ONCE THE SECOND TRUCK CREW GOT THËRE THEY TOOK OVER AND LEFT AT 18:53 ÌHEN
  DETECTIVES AND LT PARSONS SHOWED UP TO TAKE PICTURES OF EVERYTHING THAT WAS INVOLVED IN THIS INCIDENT. END OF
  REPORT




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JAIL INCIDENT'                                                          MCMINN CO SHERIFF'S OFFICE
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JAIL INCIDENT/                                                                   MCMINN CO SHERIFF'S OFFICE
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     INGIDENT DESCRIPTION
ffiSTINMATE(S)                                                       CONTROL NUMBER:                  CASE NUMBER: 2572

LOCATION: BOOKING CELL 1                                                INCIDENT DATE: O211712O18     INCIDENT TIME: 18:22
REPORTING OFFICER: 475 - D HANEY                                       DELIVERY DNÍEt 02117 12018    DELIVERY TIME: 18r50
REPORTDATET Q211712018 REPORTTIME: 18:50                              APPROVAL DA-|Êt 021 17 12018   APPROVAL TIME: 18:50
sHIFT SUPERVISER:443 - CPL T CHURCH
APPROVING OFFICER: CLAYTON, RICK
oFFENOER(S)
; INMATE     No.3775                 NAME: JONES, JERRoD IVAN
     CURRENT CELL ASSIGNMENT: MX/MX
 i cuRneHT cHARGE(S):
   VANDALISM UP TO lOOO
 r VANDALISM UP TO 1000
 , VIOLATION OF PROBATION MISDEMEANOR
 i CRIMINAL TRESPASS
     I THEFT OF PROPERTY  UNDER lOOO
     i SHOPLIFTING-THEFT OF PROPERTY
     , CRIMINAL TRESPASS

     i MURDER -- SECOND DEGREE
       AGGRAVATED ASSAULT CLASS C FELONY
 vrcïM(S)
 I INMATE NO. 10610
 I
                                      NAME: COOK, TIMOTHY BRIAN

 I cunneHr cELL ASSTGNMENT: /
 wTTNESS(ES)




     SATURDAY FEB lBTH 2018 AFTER 18OO
     I, DEPUTY DEWAYNE HANEY WAS STANDING AT THE JAIL LAUNDRY WHEN DEPUTY MICHELLE WILLIAMS RAN PAST. I FOLLOWED HER
     TO BOOKING WHERE I SAW INMATE JERROD JONES IN A RESTRAINT CHAIR, AS I CONTINUED INTO BOOKING I SAW SEVERAL OFFICËRS
     AROUND INMATE TIMOTHY COOK WHO WAS LYING ON HIS SIDE ON THE FLOOR IN CELL 1 . THEY THEN ROLLED HIM ON HIS BACK AND
     STARTED CPR. SOMEONE REQUESTED THE AIR MASK WHICH I WENT AFTER. I MET CPL CHURCH ENTERING BOOKING HE TOLD ME TO
     ASSIST THE OFFICERS WORKING WITH INMATE COOK AND HE RETURNED WITH THE MASK AND BEGAN THE BREATHING PART OF CPR.
     AS THE OFFICERS REQUESTED ITEMS I HANDED THEM INTO CELL 1. I BROUGHT THE OXYGEN CANISTER WHEN IT WAS NEEDED. WHEN
     THEY PLACED HIM ON THE BACKBOARD I ASSISTED. AFTER THIS HE WAS TAKEN TO THE AMBULANCE AND I LEFT,
                      Hearing Officer  Slgnature:                                           Badge Number:



                     Approving Otflcer Slgnature:                                                    Badge Number:



                                                                                                     Badge Number:


 Supervislng Offìcer Signature                               Date:               Time:




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JAIL INCIDENT/                                                                          MCMINN CO SHERIFF'S OFFICE
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 INCIDENT DESCRIPTION
ffiSTINMATE(S)                                                            CONTROL NUMBER:                       CASE NUMBER: 2580

LOCATION: KX DAYROOM                                                         INCIDENT   D ATE: O2l22l2O1   I    INCIDENT TIME: 15:50

REPORTING OFFICER:5256 - HAMPTON, BOO                                       DELIVERY DATE:                     DELIVERY TIMEI
REPORTDATEI                            REPORTTIME:                         APPROVAL DATE:                      APPROVAL TIME:
SHIFT SUPERVISER: .
APPROVING OFFICER:
OFFENDER(S)
i lñrvl¡re no.
I
                   zz                   NAME: JoHÑsoN, ANTHoNY scorr
, CURRENT CELL ASSIGNMENT: /
    CURRENT CHARGE(S):


     INMATE   NO.2061                   NAME: BORDEN, DAVID LEE
    CURRENT CELL ASSIGNMENT: RX/RX
    CURRENT CHARGE(S)I
    VIOLATION OF PROBATION MISDEMEANOR POSSESSION SCHI
    VIOLATION OF PROBATION STATE, FELONY EV RECKLESS ENDANGERMENT W/ DEADLY WEAPON
    DRIVING ON SUSPENDED OR REVOKED DL
    INMATE NO,     6628        NAME: SHELTON, JEREMY NICHOLAS
     CURRENT CELL ASSIGNMENT: /
     CURRENT CHARGE(S):


 vrcTrM(s)
I rnrvrere No. 3775                      NAME: JoNES, JERRoD lvAN

i cuRnerur cELL AsstcNMENT: MX/MX
    wTTNESS(ES)




     NABRATIVE
     aN 2-22-2018 @ 1550 I LET TNMATE JONES OUT FOR HtS HOUR. THEN I LEFT AND ENTERED JX, WENT rO PUT A INMATE lN HIS CELL
     WHEN I HERDÍHAT SOUNDED IIKE A FIGHT AND ALL THE INMATES RUSH TO SEE WHAT WAS GOING ON. I RAN OVER TO KX WHERE
     INMATE JONES WAS ON THE GROUND AND THE THREE INMATES LISTED ABOVE WAS OVER HIM HITTING AND KICKING HIM, I YELLED
     GET BACK AS I WENT AT THE INMATES. THEY ALL BACKED OFF OF INMATE JONES. I TOOK JONES OUT AND TO THE NURSE, AS I LEFT KX
     INMATE BORDEN SAID THAT THE GUY INMATE JONES BEAT UP IN BOOKING WAS INMATE BORDENS COUSIN.
                      Hearlng Officer     Signature:                                          Badge Number:



                        Approving Off¡cer Signature                                                             Badge Number:



                                                                                                                Badge Number:


    Superv¡sing Offìcer Signature                                 DatÊ:                 ïime:




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JA¡L INCIDENT/                                                                   MCMINN CO SHER¡FF'S OFFICE
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 INCIDENT DESCRIPTION
NõIDEÑTEõõF . SUICIDAL                                               CONTROL NUMBER:                 CASE NUMBER: 2ô65

LOCATION: MAIN MALE ONE MX-POD                                          INCIDENT DATEI 04/Ù8/2018    INCIDENT TIME: 23I31
REPORTNG OFFICER: 2385. GRIFFIN, WITLIE                                DELIVERY DATEI 04108/2018    DELIVERY TIME: 23:51
REPORT DATEI 04108/2018 REPORT TIME: 23:45                            APPROVAL DATE: 04/08/2018     APPROVAL TIME: 23:52
SHIFT SUPERVISER: -
APPROVING OFFICER:
OFFENDER(S)
  IN[iAfE Nô, SZZS                    NAME: JONES, JERROD IVAN
  CURRENT CELL ASSIGNMENT: MX/MX
 CURRENT CHARGE(S):
 VANDALISM UP TO lOOO
 VANDALISM UP TO lOOO
  VIOLATION OF PROBATION MISDEMEANOR
  CRIMINAL TRESPASS
  THEFT OF PROPERTY UNDER lOOO
  SHOPLIFTING.THEFT OF PROPERTY
  CRIMINAL TRESPASS
  MURDER.- SECOND DÉGREE
  AGGRAVATED ASSAULT CLASS C FELONY
 VI cTrM(s)




 wTTNESS(ES)




  NARRATIVE
  ON THE TIME AND DATE I, CPL. GRIFFIN WAS NOTIFIED BY DEP. HORNER THAT INMATE 3775 JONES,JERROD IVAN STATED THAT HE
  WAS GOING TO KILL HIMSELF. I, CPL. GRIFFIN WENT TO MAIN MALE ONE MX.POD WHERE INMATE JONES IS HOUSED. I, TOLÞ INMATE
  JONES TO pUT HtS HANDS BEHTND HtS BACK. THEN, I CpL, GRtFF|N PLACED HANDqUFFS ON INMATE JONES, l, CLP, GRIFFIN
  EscoRTED INMATE JoNEs To BooKING WHERE HE WAS PLACED IN A BLUE SUICIDE PREVÉNTION GOWN PRE PROTOCOL AND PLACES
  IN BOOKING CELL 2, NURSE KAY WAS NOTIFIED BY CPL. GRIFFIN. END OF REPORT
                   Hearing Offlcer      Signature:                                       Badge Number:



                     Approving Offl cer Signature:                                                  Badge Number:



                                                                                                    Badge Number:


 Supervlslng Ofiicer Signalure                               Date:               Time:




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JAIL INCIDENT/                                                                   MCMINN CO SHER¡FF'S OFFICE
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 INCIDENT DESCRIPTION
ffi                                                                  CONTROL NUMBER:                 CASE NUMBER: 2666

LOCATION: MX                                                            INCIDENT DATE: 04/08/2018    INC¡OENT TlllIEt 23:10
REPORTING OFFICER:466. D HORNER                                        DELIVERY DATE:               DELIVERY TIMEr
REPORTDATE:        04/09/2018 REPORTTIME: 01:18                       APPROVAL DATE:                APPROVAL TIME:
SHIFT SUPERVISER:44ô' W GRIFFIN
APPROVING OFFIGERT
OFFENDER(S)
 INMATE NO. 3775                      NAME: JONES. JERROD IVAN
  CURRENT CELL ASSIGNMENT: MX/MX
  cURRENT cHARGE(S):
  VANDALISM UP TO lOOO
  VANDALISM UP TO 1 OOO
  VIOI.ATION OF PROBATION MISDEMEANOR
 i CnlUltlRl TRESPASS
 ; rHerr OF PROPERTY UNDER 1000

 i suoelrrrrruc-THEFT
                          oF PRoPERTY
 I cRIMINAL TRESPASS

 i rtruaoen - sEcoND DEGREE
 I AGGRAVATED ASSAULT CLASS C FELONY


vrcTrM(s)



 WITNESS(ES)




  NARREIVE
  ON THE ABOVE DATE AND TIME I OEP HORNER IN MY BOOTH INMATE JERROD JONES INERCOM TO MY BOOTH SAID HE IS HEARING
  VOICES INMATE JONES SAID HE IS ABOUT TO KILL HIS SELF I DEP HORNER INFORM MY SUPERVISER DEP W GRIFFIN GOES TO MX POD
  INFORMS INMATE JONES TO PUT HIS HANDS BE HIND HIS BACK DEP GRIFFIN HANDCUFFS INMATE JONES TOOK INMATE JONES TO
  BOOKING FOR SAFETY
                  Hearing Offlcer      Slgnaturei                                         Badge Numberl



                     Approving Officer Signature:                                                   Badgo Number:



                                                                                                    Badge Number:


 Supervising Offìcer Signature                               Date:               Tlme




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JAIL INCIDENT'                                                                  MCMINN GO SHERIFF'S OFFICE
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INCIDENT         DESCRIPTION
rffi                                                                CONTROL NUMBERI                 CASE NUMBER: 2667
LOCAIION: MX                                                           INCIDENT DATE: 04/08/2018    INCIDENT TIME: 23:1o
REPORTING OFFICER: 46ô - D HORNER                                     DELIVERY DATE: 04/09/2018    DELIVERY TIME: 02:30
REPORT DATE: O4l09/20I8 REPORT TIME: 02:30                           APPROVAL DATE:                APPROVAL TIME:
SHIFT SUPERVISER:446 - W GRIFFIN
APPROVING OFFICER:
OFFENDER(S)
  tNlì¡ÀTÉ Ño. szzs                  NAME: JONES, JERROD IVAN
 cURRENT CELL ASSIGNMENT: MX/MX
 CURRENT CHARGE(S):
                   .'IOOO
 VANOALISM UP TO
 VANDATISM UP TO lOOO
 VIOI..ATION OF PROBATION MISDEMEANOR
 CRIMINAL TRESPASS
 THEFT OF PROPERTY UNDER lOOO
 SHOPLIFTING.THEFT OF PROPERTY
  CRIMINAL TRESPASS
I MURDER.. SECOND DEGREE
: AGGRAVATED ASSAULT CLASS C FELONY

vtcïM(s)


wTTNESS(ES)




  NARRATIVE
  ON THE ABOVE DATE ANO TIME, I, DEPUTY HORNER, WAS IN MAIN MAIL 1 BOOTH WHEN INMATE JERROD JONE CALLED ON THE
  INTERCOM TO TELL ME THAT HE WAS HEARING VIOCES AND THAT HE WAS GOING TO KILL HIMSELF, I, DEPUTY HORNER, INFORMED MY
  SUPERVISOR, CPL GRIFFIN, CPL GRIFFIN WENT INTO MX POD AND TELLS INMATE JONES TO PLACE HIS HANDS BEHIND HIS BACK, CPL
  GRIFFIN THEN HANDCUFFS HIM AND ESCORTS HIM TO BOOKING. INMATE JONES WAS PLACED ON SUICIDE WATCH. END OF REPORT.
                       Hoaring Officer   Slgnature:                                                Badge Numbet:



                    Approving Officer Signature:                                                   Badge Number:



                                                                                                   Badg€ Number:


Supervlsing Ofllcer Signature                               Date:               Tlme:




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JAIL INC¡DENT/                                                                 MCMINN CO SHERIFF'S OFFICE
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 INC¡DENT DESCRIPTION
IffiSTINMATE(S)                                                     CONTROL NUMBER:                CASE NUMBER: 2724
LOCATIONI                                                             INCIDENT DATE: 05/13/2018    INCIDENT TIME: 04:37
REPORTING OFFICER: 1 1 17         WILLIAMS, MATTHEW                   DELIVERY DATE:              DELIVERY TIME:
REPORTDATET 05/13/2018              REPORT TIME: 04:37               APPROVAL DATE:               APPROVAL ÏME:
SHIFT SUPERVISER: -
APPROVING OFFICER:
OFFENDER(S)
 INMATE NO.    3775                  NAME: JONES, JERROD IVAN
 CURRENT CELL ASSIGNMENT: MX/MX
 CURRENT CHARGE(S):
 VANDALISM UP TO IOOO
 VANDALISM UP TO lOOO
 VIOLATION OF PROBATION MISOEMEANOR
 CRIMINAL TRESPASS
 THEFT OF PROPERTY UNDER lOOO
 SHOPLIFTING-THEFT OF PROPERTY
 CRIMINAL TRESPASS
 MURDER -- SECOND DEGREE
 AGGRAVATED ASSAULT CljSS C FELONY
  INMATE NO.    6525                 NAME: WHITLEY, MATTHEW ALLËN
  CURRENT CEIL ASSIGNMENT: /
  CURRENT CHARGE(S):


vrcTrM(s)
i INMATE NO. 6525                    NAME: WHITLEY, MATTHEW ALLEN
  CURRENT CELL ASSIGNMENT: /

wTTNESS(ES)




  NARRATIVE
  oN 5/13/2018 I DEPUTY WILLIAMS WAS DolNc MY 04:00 ROUND WHEN I WAS ESCORTING INMATE JERROD JONES AND INMATE MICHEAL
  ELROD BACK INTO THE POD AND BACK INTO THERE CELLS. WHEN INMATE JERROO JONES ENTERED THE MX POD I WITNESS HIM
  ATTACK INMATE MATTHEW WHITLEY IN THE MX POD. HE STARTED TO SWING AT HIM AND THE TWO BEGAN TO FIGHT IN THE DAY
  ROOM. I THEN RAN UP THE STAIRS AND CALLED TRAFFIC. I ENTERED THE MX POD AND TOLD THEM TO SEPERATE THEY DID NOT
  RESPOND SO I PULLED MY TASER AND POINTED IT AT JERROD JONES AND TOLD HIM TO BRËAK IT UP AND BACK UP. THEY BOTH
  SEPERATED AND BACKED AWAY FROM EACH OTHER. DEPUTY HAMPTON AND CPL CHURCH THEN ARRIVED AND I THEN PLACE BOTH OF
  THEM BACK INTO THERE CELLS,
                       Hearing Offìcer   Signature:                                               Badge Number:



                    Approving Off¡cer Signaturer                                                  Badge Number:



                                                                                                  Badge Number:


Supervising Officer Sl gnature                              Date:              Time:




Ëagle Advantage Solutions, lnc.




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JAIL INCIDENT/                                                                  MCMINN CO SHERIFF'S OFF¡GE
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INCIDENT DESCRIPTION
INCIDENT CODE A - ASSAULT AGAINST INMATE(S)                         CONTROL NUMBER:                 CASE NUMBER: 2748
LOCATION| HX                                                           INCIDENT DATE: 06/02/2018    INCIDENT TIME: 01:11
REPORTING OFFICER:3673 - BURNHAM, MATTHEW                             DELIVERY DATE:               DEL]VERY TIME:
REPORTDATE:        06/02/2018 REPORTTIME:01:39                       APPROVAL DATE:                APPROVAL TIME:
SHlFT SUPERVISER: 2638 . BYRUM, TERRY
APPROVING OFFICER:
OFFENDER(S)
 INMATE NO.     3775                 NAME: JONES, JERROD IVAN
    CURRENT CELL ASS¡GNMENT: MX/MX
    cURRENT cHARGE(s):
    VANDALISM UP TO lOOO
    VANDALISM UP TO lOOO
I vrouRloru oF
                  pRoBATtoN MISDEMEANoR
i CRIMINAL TRESPASS
    THEFT OF PROPERTY UNDER lOOO
,
    SHOPLIFTING-THEFT OF PROPERTY
    CRIMINAL TRESPASS
i ¡¡unoEn -- sEcoND DEGREE
i AGGRAVATED ASSAULT CLASS C FELONY
I


vrcTrM(s)
¡ truruere NO. 109075                NAME: DAVIDSON, KRISTOPHERANDREW
i cunneur cELL ASSIGNMENT: /
wrrNEss(Es)



    NARRATIVE
    ON THIS DATE 06/02/2018 AT APPROX. 0111 AM I DEP. BURNHAM AND DEP, MILLER WERE SITTING IN MAIN MALE 1 BOOTH, INMATE MAIN
    MALE 1 TRUSTEE KRISTOPHER DAVIDSON WAS COMING BACK OUT OF LX FROM HEATING COFFEE UP AND WAS GETTING READY TO GO
    BACK INTO HX. WHEN INMATE JERROD JONES RUSHED HX DOOR AND SUCKER PUNCHED KRISTOPHER DAVIDSON AT THAT POINT BOTH
    INMATES WENT AT IT PUNCHING EACH OTHER. TRAFFIC WAS CALLED AT 0111 AM AND DEP. MILLER WAS THE FIRST ONE TO THE
    INCIDENT AT THAT POINT BOTH INMATES SEPERATED, DÉP. WILLIAMS RELEIVED ME FROM.THE BOOTH AND I WENT TO THE INCIDENT,
    DEP. BYRUM ARRIVED ON SCENE AND TALKED TO JERROD JONES AND THEN PUT HIM BACK UP IN HIS CELL MX 4. END REPORT,
                       Hearing Off¡cer   Slgnalure¡                                                Badge Number:



                    Approving Offìcer Signature:                                                   Badge Number:



                                                                                                   Badge Number:


Supervising Officer Sl gnature                              Dâte:               Time:




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JAIL INCIDENT/                                                                     MCMINN CO SHERIFF'S OFFICE
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INCIDENT DESCRIPTION
NcroeNr cooE A - ASSAULT AGA|Nsr INMATE(S)                             CONTROL NUMBER:                 CASE NUMBER: 2763

LOCATION: MX                                                              INCIDENT DATE: 06/13/2018    INC¡DENT TIME: 23:21

REPORTING OFFICER: 5256 . HAMPTON, BOO                                   DEL]VERY DATE:               DELIVERY TIMET
REPORTDATE:           06/13/2018 REPORTTIME:23:55                       APPROVAL DATE:                APPROVAL TIME:
SHIFT SUPERVISER: .
APPROVING OFFICER:
OFFENDER(S)
 INMATE NO.        3775                 NAME: JONES, JERROD IVAN
    GURRENT CELL ASS]GNMENT: MX/MX
    cURRENT CHARGE(S):
    VANDALISM UP TO lOOO
    VANDALISM UP TO lOOO
    VIOLATION OF PROBATION MISDEMEANOR
    CRIMINAL TRESPASS
    THEFT OF PROPERTY UNDER lOOO
    SHOPLIFTING-THEFT OF PROPERTY
     CRIMINAL TRESPASS
     MURDER -. SECOND DEGREE
     AGGRAVATED ASSAULT CLASS C FELONY
vrcTrM(s)
i TNMATE No. 9442                        NAME: SHUKAIT, STEPHEN M
I

i CURRENT CELL ASSIGNMENT: /
I


 wTTNESS(ES)




     NARRATIVE
     oN 06-13-2018 @ 2321 I DEpUTy HAMPTON WAS DOtNc A ROUND tN MA|N MALE 1. I HAD TOCKED DOWN INMATE JONES lN MX4 AND LET
     OUT INMATE SHUKAIT OUT OF MX3. I CONTINUED MY ROUND TO LX DAYROOM, MAIN MALE 1 TRUSTEE CAME ANO TOLD ME THAT THERE
     WAS A FIGHT IN MX. I RAN TO THE BOOTH AND TOLD DEPUTY LEMONS TO CALL TRAFFIC TO MX. AS I WAS RUNNING UP THE STAIRS TO
     MX INMATE JONES RAN TO HIS CELL AND SHUT THE DOOR, WHEN I GOT IN MX I WENT TO INMATE JONES CELL DOOR TO MAKE SURE IT
     w¡s lòôxEo IHEN ASKED How HE opENED tr. cpl cHURcH TooK TNMATE sHUKAlr ro rHE FRoNT AND I OONTINUED MYSTARTED RouND.
     NTTCR REVIEW OF THE CAMERA INMATE SHUKAIT RAN A STRING TO HELP INMATE JONES POP OUT. THEN INMATE JONES
     HITTING INMATE SHUKAIT AND CONTINUED UNTIL I WAS ALMOST IN MX THEN RAN BACK TO HIS CELL. INMATE SHUKAIT WAS MOVED TO
     BOOKING FOR HIS SAFTEY, END REPORT,
                     Hoaring Oflicer      Signature:                                                  Badge Number:



                        Approvlng Officer Signature:                                                  Badge Number:



                                                                                                       Badge Number:


    Supervlslng Officer Signature                               Date               Time:




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JAIL INCIDENT/                                                                  MCMI.NN CO SHERIFF'S OFFICE
                                                                                                                         TN0540000
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 INCIDENT DESCRIPTION
tffisrtNMArE(s)                                                     CONTROL NUMBER:                  CASE NUMBER: 2764

LOGATION: MX POD DAYROOM                                               INCIDENT OATE: 06/13/2018     INCIDENTTIMEi 23121
REPORT'lNG OFFICER:443 - T. CHURCH                                    OELIVERY DATE: 06/,14/201 8   DELIVERY TIME: 04:59
REPORT DATE: 06/14/2018 REPORT TIME: 04:59                           APPROVAL DAÏE:                 APPROVAL TIME:
SHIFT SUPERVISER:442 - D, BREEDEN
APPROVING OFFICERI
oFFENDER(S)
 INMATE No.    3775                  NAME: JONES, JERROD IVAN
 cURRENT cELL ASSIGNMENT: MX/MX
 cURRENT CHARGE(S):
 VANDALISM UP TO lOOO
 VANDALISM UP TO lOOO
 VIOLATION OF PROBATION MISDEMEANOR
 CRIMINAL TRESPASS
 THEFT OF PROPERTY UNDER lOOO
 SHOPLIFTING-THEFT OF PROPERTY
  CRIMINAL TRESPASS
  MURDER - SECOND DEGREE
  AGGRAVATED ASSAULT CLASS C FELONY
vrcïM(s)
  INMATE   NO.9442                   NAMEr SHUKAIT, STEPHEN M
  CURRENT CELL ASSIGNMENT: /

wrrNESS(ES)




  NARRATIVE
  ON 6/13/2018 AT APPROXIMAIELY 2322I, CORPORAL CHURCH WAS IN CENTRAL CONTROL WHEN I SAW ON CAMERA INMATES JERROD
  JONES AND STEPHEN SHUKAIT FIGHTING IN THE DAYROOM OF MX. MOMENTS BEFORE I WITNESSED DEPUTY HAMPTON PUT INMATE
  JONES IN M4 AND LOCK HIM DOWN. SHORTLY AFTER DEP. HAMPTON LËFT THE POD, INMATE SHUKAIT SLID A STRING UNDER THE DOOR
  OF M4 CELL AND THEN INMATE JONES EXITED M4 CELL AND STARTED TO BEAT ON INMATE SHUKAIT. WHEN I SAW IT ON CAMERA I
  CALLED TRAFFIC. SGT. BRËEDEN TOOK OVER CENTRAL CONTROL AND I RESPONDËD TO MX. UPON ENTRY TO MX INMATE JONES
  RETREATED TO HIS CELLAND LOCKED THE DOOR. DEP. HAMPTON CHECKED TO MAKE SURE THE DOOR WAS LOCKED. I TOOK INMATE
  SHUKAIT TO THE CLINIC AND CLEANED HIM UP, HE HAD AN ABRASION ON THE TOP RIGHT OF HIS FOREHEAD AND A SMALL AMOUNT OF
  BLooD coMING FRoM HIs NoSE. INMATE SHUKAIT WAS MOVED TO BOOKING FOR HIS SAFËTY.


                      Hearing Oflicer Signature                                                     Badge Number:



                    Approv¡ng Officer Signalure:                                                    Badge Number:



                                                                                                    Badge Number:


Supervlslng Officer Slgnalure                               Date:               Time:




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JAIL INCIDENT/                                                                         MCMINN CO SHERIFF'S OFF¡CE
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 INCIDENT DESCRIPTION
ffisrrNMATE(s)                                                             CONTROL NUMBER:                 CASE NUMBER: 2776

LOCATION: VISITING                                                            INCIOENT DATE: 06/16/2018    INCIDENTTIME:19:33
REPORTING OFFIGERT 61 Bg - GOENNER, GREG                                     DELIVERY DATE:               DELIVERY Ï1ME:
REPORT DATEr 06/16/2018 REPORT TIME: 19:57                                  APPROVAL DATE:                APPROVAL TIME:
SHIFT SUPERVISER:2638 - BYRUM, TERRY
APPROVING OFFICER:
OFFENDER(S}
  INMATE    NO.1668                  NAME: OSBORNE, FRANKLIN LEE
 cURRENT CELL ASSIGNMENT: KX/KX
 cuRRENr cHARGE(S):
 EVADING ARREST FELONY DRIVING ON REVOKED DL
 VANDALISM
 VIOLATION OF PROBATION STATE
 DRIVING ON REVOKED DL FELONY EVANDING THEFT BY POSS.MOTER VEHICLE AND PLATE
 CONTRABAND IN PENAL INSTITUTION                                      __
  INMATE    NO.3775                  T.IÃTUE: JONES, JER_RõöIVAI.J                                                                    I




 CURRENT CELL ASSIGNMENT: MX/MX
 CURRENT CHARGE(S}:
, VANDALISM UP TO lOOO
 VANDALISM UP TO lOOO
, VIOLATION OF PROBATION          MISDEMEANOR
: CRIMINAL TRESPASS
 THEFT OF PROPERTY UNDER lOOO
i SHOPLIFTING-THEFT      OF PROPERTY
  CRIMINAL TRESPASS
i MURDER.. SECOND DEGREE
.AGGRAVATED ASSAULT CLASS C FELONY

vrcTrM(s)



wrrNEss(Es)



  NARRATIVE
 ON THE ABOVE DATE AND TIME I, DEPUTY GOENNER, WAS IN VISITING ON THE VISITOR SIDE HANDING BACK ID'S, I HEARD SEVERAL
 VISITORS STARTING TO YELL AND WENT DOWN THE LINE TO SEE WHAT WAS GOING ON. I SAW INMATE JONES. JERROD, INMATE # 3775
 AND INMATE OSBORNE, FRANKLIN, INMATE # 1668 FIGHTING. I IMMEDIATELY CALLED TRAFFIC TO VISITING AND EXITED THE VISITOR
 SIOE, I ENTERED DOOR V5 WITH CPL. BYRUM AND DEPUTY BURNHAM. CPL. BYRUM TOOK INMATE JONES OUT OF VISITING WHILE
 DEPUTY BURNHAM AND I STAYED IN VISIT WITH INMATE OSBORNE. INMATE OSBORNE WAS TAKEN BACK TO MX AS WELL AS INMATE
 JONES AND BOTH INMATES WERE LOCKED DOWN.
 END OF REPORT.
                       Hearing Ofiìcer   Signature:                                                       Badge Number:



                    Approvlng Oflicer Signature:                                                          Badge Number:



                                                                                                          Badge Number:


Supervising Officer Signature                                 Date:                    Time:




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JAIL INCIDENT/                                                                                       MCMINN CO SHERIFF'S OFFICE
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 INCIDENT DESCRIPTION
tmsrINMATE(s)                                                                       CONTROL NUMBER:                           CASE NUMBER: 2777
LOCATION: VISITATION                                                                     INCIDENT DATE: 06/16/2018             INCIDENT TIME: 19:35
REPORTING OFFICER:2638 - BYRUM, TERRY                                                   DELIVERY DATEI                        DELIVERY TIME:
REPORTDATE:                              REPORTTIME:                                   APPROVAL DATE:                        APPROVAL ÏME:
SHIFT SUPERVISER:2638 - BYRUM, TERRY
APPROVING OFFICER: D BREEDEN
OFFENDER(S)
     ¡NMATE ÑO.    1OOE                   NAME: OSBORNE, FRANKLIN LEE
     CURRENT CELL ASSIGNMENT: KX/KX
     cURRENT CHARGE(S)r
  EVADING ARRESÍ FELONY DRIVING ON REVOKED DL
  VANDALISM
  VIOI-ATION OF PROBATION STATE
1 DRIVING ON REVOKED DL FELONY EVANDING THEFT BY POSS.MOTËR VEHICTE AND PLATE

     CONTRABAND IN PENAL INSTITUTION
                                        ' NAME: JONES, JERROD IVAN
     INMATE   NO,3775
     CURRENT CELL ASSIGNMENT: MX/MX
     CURRENT CHARGE(S):
     VANDALISM UP TO lOOO
     VANDALISM UP TO lOOO
     VIOLATION OF PROBATION MISDEMEANOR
 ì   cntvln* TRESPASS
 ,THEFT OF PROPERTY UNDER lOOO
     SHOPLIFTING.THEFT       OF PROPERTY
 , CR¡tr¡tttRl TnESPASS
 .
     MURDER -. SECOND DEGREE
 I
     AGGRAVATED ASSAULT CLASS C FELONY
vrcïM(s)


 wrTNEss(Es)




     NARRATIVE
     On 0ô/16/2018 at or around 1g3s lnmates J.Jones lnmate number (3775) and F,osborne inmate number (1668) got lnto a f¡ght in visitallon, lnmale
     traffic was called by Dep. Goenner from the visltor slde of vlsltation while he was handing back vls¡tor ldentlfacllon . Dep. Burnham and myself Cpl'
     Byrum along with óep Arent entered the vistat¡on area to find inmate Jones and lnmate osborne argue¡n9.. At thst I ordered inmate Jones to stop all
     mbvement ãs I drew my X-26 taser inmate Jones was the closest ¡nmate to me at lhat time . lnmate Jones did comply and exlted the visllat¡on.areâ with
     me while i silll had lhe taser on him . I then escorted inmate Jone sback to the pod MX cell 4 and placed him behlnd his door in the cell . Whlle I was
     moveing inmale Jones Dep Burnham and Dep. Arent escorted inmate Osborne back to the pod MX. Al that t¡me I had already secured inmate Jones
     behind ñis door . I then orciered inmate Osborne to come on up and placed him behind his door in pod Mx cell 3 .With both lnmates secured ln the pod i
     told both inmales that I was locking them down for the remalnder of the day and vlslt was over for the two of them at thls time, lnmate Osborne voiced
     his opinion at that time about me eîdlng his vlsit early . He stated and i quõte ( This shit is fucked up I didn't do anylhlng wrong_ and.he started the llght
     why äm I getilng locked down too ) I their told inmate bsborne thal il was my deslslon 1o end vislt for both lnmates ân that was fìnal. I then went up front
     to áppotþãe to 1-he familys of both'partys lnvolved and told the famllys that bolh lnmates would not Su! yilil for-30 days due to_the f¡ght , l-will b-e- takeing
     v¡sit'tiom-both inmates fór no less or more than 30 days at thls tlme . Above events did happen at the McMinn County Justice Center on 06/1 6/2018




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JAIL INCIDENT/                                                   MCMINN CO SHERIFF'S OFFICE
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                    Approvlng Ofncer Slgnâture:                                   Badge Number:



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Supervlslng OflTcer Slgnâturg                      Date:        Tlme:




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JAIL INCIDENT/                                                                       MCMINN CO SHERIFF'S OFFICE
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 INCIDENT DESCRIPTION
tffisrINMATE(s)                                                          CONTROL NUMBER:                 GASE NUMBER: 2779

LOCATION: VISITATION                                                        INcIDENT DATE: 06/16/2018    INCIDENT TIMEI 19:32
REPORTING OFFICER:3673 - BURNHAM. MATTHEW                                  DELIVERY DATE:               DELIVERY TIME:
REPORT DATEI 06/16/2018 REPORT TIME¡ 22:54                                APPROVAL DATE;                APPROVAL TIME:
SHIFT SUPERVISER:2638 - BYRUM, TERRY
APPROVING OFFICER:
OFFENDER(S)
      INMATE NO,    1668                 NAME: OSBORNE, FRANKLIN LEE
     CURRENT CELL ASSIGNMENT: KX/KX
     cURRENT CHARGE(S):
     EVADING ARREST FELONY DRIVING ON REVOKED DL
     VANDALISM
     VIOLATION OF PROBATION STATE
     DRIVING ON REVOKED DL FELONY EVANDING THEFT BY POSS,MOTER VEHICLE AND PLATE
     CONTRABAND IN PENAL INSTITUTION
 i'i*l¡¡te ruo: ¡zzs -                    NAME: JoNEs, JERRoD tvAN
 l

     CURRENT CELL ASSIGNMENT: MX/MX
 i cuRneNr GHARGE(S):
 ]V¡uonlts¡il UP TO 1000
     VANDALISM UP TO lOOO
 i Vlol-ATION OF PROBATION MISDEMEANOR
 i cRturr'rru TRESPASS
     THEFT OF PROPERTY UNDER IOOO
 : SHOPLIFTING-THEFT  OF PROPERTY
 I CRIMINAL TRESPASS
 i MURDÉR -. SECONO DEGREE
     i AGGRAVATED ASSAULT CLASS C FELONY

 vrcTrM(s)



 wrrNEss(Es)



      NARRATIVE
      ON THIS DATE 06/16/2018 AT APPROX. 1932 TRAFFIC WAS CALLED TO VISITATION, I DEP. BURNHAM WAS IN MAIN MALÉ TWO AND RAN
      UP TO VISIT. DEP. GUNNER , CPL, BYRUM AND DEP. ARENT FOLLOWED RIGHT BEHIND ME, ENTERED WITH TASER DRAWN AND SAW
      THAT INMATES JERRoD JoNEs AND FRANKLIN oSBORNE WERE SQUARED UP WITH EACH OTHER, TOLD JERROD JONES TO COME
      TOWARDS US, THE INMATES COMPLIED AND AND JERROD JONES WAS TAKEN OUT OF VISITAION FIRST AND TAKEN BACK UP TO MX 4
      BY CPL, BYRUM. ME AND DEP. GUNNER TALKED TO FRANKLIN OSBORNE AND HE SAID THAT JERROD JONES STARTED IT ALL AND HIT
      HIM FIRST, THEN CPL. BYRUM TOLD DEP. ARENT TO BRING FRANKLIN OSBORNE TO HIM, SO ME AND DEP. ARENT WALKEÞ HIM BACK TO
      MX AND CPL, BYRUM PUT OSBORNE BACK INTO MX 3. END REPORT.
                        Hearlng Officer    Slgnature:                                           Badge Number:



                         Approvlng Officer Signature:                                                   Badge Number:



                                                                                                         Badge Number:


     Supervising Offìcer Signature                               Date:               Time




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JAIL INCIDENT/                                                                                MCMINN CO SHERIFF'S OFFICE
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 INCIDENT DESCRIPTION
ffiSTINMATE(S)                                                                CONTROL NUMBER:                         CASE NUMBER: 2780
 LOCATION: INMATE SIDE OF VISIT                                                   INCIDENT DATE: 06i16/20'18          INOIOENTTIME: 19:32
 REPORTING OFFICER: 0309 - ARENTS, TYLER                                         DELIVERY DATET 0611712018            DELIVERY TIME: 0 :10
 REPORT DATE: 06/1712018 REPORT TIMEI O :10                                     APPROVAL DATE: 06/1712018           APPROVAL     TIME: 0 :10
SHIFT SUPERVISER:2638 - BYRUM, TERRY
APPROVING OFFICER: BREEDEN, DUSTY
 oFFENDER(S)
  INMATE NO.    3775                 NAME: JONES, JERROD IVAN
  cURRENT cELL ASSIGNMENTT MX/MX
  CURRENT CHARGE(S)I
 . VANDALISM UP TO l OOO

 . VANDALISM UP TO lOOO
  VIOLATION OF PROBATION MISDEMEANOR
  CRIMINAL TRESPASS
  THEFT OF PROPERTY UNDER lOOO
  SHOPLIFTING-THEFT OF PROPERTY
  CRIMINAL TRESPASS
  MURDER - SECOND DEGREE
  AGGRAVATED ASSAULT CLASS C FELONY

 vrcilM(s)
 i INMATE NO. 16ô8                    NAME: OSBORNE, FRANKLIN LEE
  CURRENT CELL ASSIGNMENT: KX/KX

 wrrNESS(ES)




  NARRATIVE
  On the above date and time l, Deputy Tyler Arent, (#4ô4) responded to a traffic call on the inmate slde of visit. I arrived on scene behlnd Cpl. T. Byrum
  (#444) and Deputy M, Burnham (#462)- lt seemed the confrontation had ended by lhe time we had arrived, whlch at that point Cpl. Byrum b_egan to
  òscoi lnmate ieriod Jones (#3775) back to MX to be locked down. After lnmate Jones was secure Deputy Burnham and I escorted lnmate Franklin
  osborne (#1668) back to MX as well and had hlm locked down for rest of the day. E.O,R.
                       Hearing Officer   Slgnature:                                                                  Badge Number:



                    Approving Officer Slgnature:                                                                     Badge Number:



                                                                                                                     Badge Number:


 Supervislng Ofìcer Signature                                        Date:                   Tlme:




Eagle Advanlage Solutions, lnc.




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JAIL INCIDENT/                                                                                  MCMINN CO SHERIFF'S OFFICE
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 INCIDENT DESCR¡PTION
rffiNoFFlcER                                                                    CONTROL NUMBER:                         CASE NUMBER: 3021

LOCATION: MX                                                                        INCIDENT DATE: 10/29/2018           INCIDENT TIMEr 04:08
REPORTING OFFICER: 5525 -                                                           DELIVERY D ATE: 1 01291201    I     DELIVERY TIME: 04:10
REPORT DATE: 1012512018 REPORTTIME: 04:10                                          APPROVAL DATE: 10/29/2018           APPROVAL     TIME: 04:10
SHIFT SUPERVISER:0309. ARENT, TYLER
APPROVING OFFICER: CLAYTON, RICK
OFFENDER(S)
I INMATE NO.      3775                  NAME: JONES, JERROD IVAN
     CURRENT CELL ASSIGNMENT: MX/MX
     CURRENT CHARGE(S):
     VANDALISM UP TO lOOO
     VANDALISM UP TO lOOO
   VIOLATION OF PROBATION MISDEMEANOR
   CRIMINAL TRESPASS
   THEFT OF PROPERTY UNDER lOOO
 , SHOPLIFTING-THEFT OF PROPERTY
     CRIMINAL TRESPASS
 , UUnOen -- SECOND DEGREE

 . AGGRAVATED
                     ASSAULT CLASS C FELONY
 I rNm¡re No. 1210s7                    NAME: ELRoD, MIcHAELJAMES
 I

 I cuRRE¡¡r ceLL AsstcNMENT: MX/MX
 i cuRnrHt cxARGE(s):
 lVANDALISM
  MURDER.- SECOND DEGREE
 I lltunoen, ATTEMPTED
 vrcïM(S)



 wrrNEss(Es)



     N4RRATIvE
                                                                                        ,
     On 29 October @ 0400 hrs I Doug Reed was conducting a round in main male 1 Upon entering MX I was asked bl lnmate ELROD lf .he. could set
     some frash out of hls cell. Upon oþening the cell he set lÉe tray on the dayroom table and proceeded to the klosk to check his email, I asked him what
                                                                                                                                                          you
     he was doing and he stated he was crreirtng hls emall. I askéd hlm hlm io go back lnlo h¡s cell to whlch he replled "no" he then asked "what are
                                                                                                                                                    his email.
     tonna Co,, säveral limes. I lnformed the inrñate lhat he needed to go back into his cell and that I did not say h6 could come out to check
     inmate Elrod lhen became irate screaming that "l aint the motherfucker to fuck with, you're gonna have to put me up, call Tyler." I called AR^ENT, Tyler
     ând informed hlm of the situation. lnmatetLRoD cont¡nued to be irale and refused to go ¡nto his cell even though I repeadedly told him to. At this time
     lnmate JONES, Genod began to yell from his cell conf¡rming he heard me say ELROD could check his email. Througìout this incìdent lnmale JONES
     wàs verring trom trls cell eniiclng Élnoo. Deputy HAMPToÑ, goo and WlLLlAMs, Matthew arrived in MX dayroom. ELROD continued lo refuse to go
     into his ce-ll and tell doputy WILIIAMS t gave htri permlssion to check hls email. After several mlnutes of conversation between depuly WILLIAMS and
     inmate ELROD fre ¿ectOéO to go back into his cå[, Upon ELROD entering hls cell all deputys vacâted MX dayroom and rondeveued maln male 1.
     Wlthin a few minutes of geüingiback lnlo the shack lnnìate JONES had popped hls door and was in the dayroom hitting the lntercom bgtton. lnmate
     JOÑES lgnored several rõques-t to go back into hls cell. JONES contlnued to hlt lhe intercom button for several minutes. Eventually JONES decided to
     go back into his cell when we qult answer¡ng the lntercom.




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JAIL INCIDENT/                                                         MCMINN CO SHERIFF'S OFFICE
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                              Headng Ofilcer Slgnålurê;                                 Badge Numbor:



                           Approvlng Ofilcer Slgnaturo:                                 Badgo Numbôr:



                                                                                        Badge Numbcn


 Supe rvlslng Officer Slgnature                           Dato:       Tlme:




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